Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 1 of 30 Page ID
                                #:29976


 1   Beth A. Wilkinson (admitted pro hac vice)
     Brian L. Stekloff (admitted pro hac vice)
 2   Rakesh N. Kilaru (admitted pro hac vice)
     Jeremy S. Barber (admitted pro hac vice)
 3   WILKINSON STEKLOFF LLP
     2001 M Street NW, 10th Floor
 4   Washington, DC 20036
     Telephone: (202) 847-4000
 5   Facsimile: (202) 847-4005
     bwilkinson@wilkinsonstekloff.com
 6   bstekloff@wilkinsonstekloff.com
     rkilaru@wilkinsonstekloff.com
 7   jbarber@wilkinsonstekloff.com
 8   Gregg H. Levy (admitted pro hac vice)
     Derek Ludwin (admitted pro hac vice)
 9   John S. Playforth (admitted pro hac vice)
     COVINGTON & BURLING LLP
10   One CityCenter, 850 10th Street NW
     Washington, D.C. 20001
11   Telephone: (202) 662-6000
     Facsimile: (202) 778-5429
12   glevy@cov.com
     dludwin@cov.com
13   jplayforth@cov.com
14   Counsel for Defendants National Football
     League, NFL Enterprises LLC, and the
15   Individual NFL Clubs
16
                                  UNITED STATES DISTRICT COURT
17
                                CENTRAL DISTRICT OF CALIFORNIA
18

19     IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (JEMx)
20
       LEAGUE’S “SUNDAY TICKET”                       STATEMENT OF UNDISPUTED
       ANTITRUST LITIGATION                           FACTS IN SUPPORT OF THE
21     ______________________________                 NFL DEFENDANTS’ MOTION
                                                      FOR SUMMARY JUDGMENT
22
       THIS DOCUMENT RELATES TO:                      Judge: Hon. Philip S. Gutierrez
23                                                    Date: October 27, 2023
       ALL ACTIONS
24                                                    Time: 1:30p.m.
                                                      Courtroom: First Street Courthouse
25
                                                                 350 West 1st Street
26                                                               Courtroom 6A
                                                                 Los Angeles, CA 90012
27

28
      Case No. 2:15-ml-02668-PSG (JEMx)      Statement of Undisputed Facts in Support of the NFL Defendants’
                                             Motion for Summary Judgment
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 2 of 30 Page ID
                                #:29977
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 3 of 30 Page ID
                                #:29978
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 4 of 30 Page ID
                                #:29979
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 5 of 30 Page ID
                                #:29980
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 6 of 30 Page ID
                                #:29981
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 7 of 30 Page ID
                                #:29982
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 8 of 30 Page ID
                                #:29983
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 9 of 30 Page ID
                                #:29984
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 10 of 30 Page ID
                                 #:29985
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 11 of 30 Page ID
                                 #:29986
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 12 of 30 Page ID
                                 #:29987
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 13 of 30 Page ID
                                 #:29988
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 14 of 30 Page ID
                                 #:29989
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 15 of 30 Page ID
                                 #:29990
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 16 of 30 Page ID
                                 #:29991
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 17 of 30 Page ID
                                 #:29992
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 18 of 30 Page ID
                                 #:29993
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 19 of 30 Page ID
                                 #:29994
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 20 of 30 Page ID
                                 #:29995
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 21 of 30 Page ID
                                 #:29996
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 22 of 30 Page ID
                                 #:29997
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 23 of 30 Page ID
                                 #:29998
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 24 of 30 Page ID
                                 #:29999
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 25 of 30 Page ID
                                 #:30000
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 26 of 30 Page ID
                                 #:30001
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 27 of 30 Page ID
                                 #:30002
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 28 of 30 Page ID
                                 #:30003
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 29 of 30 Page ID
                                 #:30004
Case 2:15-ml-02668-PSG-SK Document 954-2 Filed 07/28/23 Page 30 of 30 Page ID
                                 #:30005

                                           Los Angeles, CA 90067-6045
  1
                                           Telephone: (424) 332-4800
  2                                        Facsimile: (424) 332-4749
                                           nsahni@cov.com
  3
                                           Gregg H. Levy (admitted pro hac vice)
  4                                        Derek Ludwin (admitted pro hac vice)
  5                                        John S. Playforth (admitted pro hac vice)
                                           COVINGTON & BURLING LLP
  6                                        One CityCenter
                                           850 Tenth Street NW
  7                                        Washington, DC 20001
  8
                                           Telephone: (202) 662-6000
                                           Facsimile: (202) 662-6291
  9                                        glevy@cov.com
                                           dludwin@cov.com
 10                                        jplayforth@cov.com
 11                                        Counsel for Defendants National Football
 12                                        League, NFL Enterprises LLC, and the
                                           Individual NFL Clubs
 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                28
       Case No. 2:15-ml-02668-PSG (JEMx)   Statement of Undisputed Facts in Support of the NFL Defendants’
                                           Motion for Summary Judgment
